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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                            C.A. No. 09-cv-30181-MAP
ANGIODYNAMICS, INC.,

                              Plaintiff,

vs.

BIOLITEC, INC., BIOLITEC AG, BIOMED
TECHNOLOGY HOLDINGS LTD. and
WOLFGANG NEUBERGER,

                              Defendants


                     MOTION FOR RECUSAL OR DISQUALIFICATION

       Defendants Biolitec AG, Biomed Technology Holdings, Ltd. and Wolfgang Neuberger

move pursuant to 28 U.S.C. § 455(a) for recusal or disqualification of the Hon. Judge Michael A.

Ponsor because his statements and rulings in reaction to the completion of Biolitec AG’s

downstream merger on March 15, 2015 has raised reasonable questions regarding his

impartiality. In particular, Judge Ponsor’s statements and rulings establish that he considers the

merger “‘to be a personal affront to his authority’ such that a reasonable person would doubt his

impartiality.” Judicial Disqualification: An Analysis of Federal Law (Second Edition), Federal

Judicial Center (2010) (Exhibit 1) [ECF 274-1] at 34 (citing United States v. Anwar, 53 F.3d 568,

573 (3d Cir. 1995)).

       In support of this motion, defendants submit the accompanying supporting memorandum

of law. In addition, defendants rely on, and designate as part of the record on this motion, the

declarations, exhibits, memoranda submitted in support of, or in opposition to, the following

motions as well as all hearing transcripts and decisions:

               (i)     Plaintiffs’ Emergency Motion for Temporary Restraining Order
                       and Motion for Preliminary Injunction [ECF 109];


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               (ii)     Emergency Motion for Reconsideration of Preliminary
                        Injunction [ECF 144];

               (iii)    Emergency Motion to Vacate Preliminary Injunction [ECF
                        190];

               (iv)     Emergency Motion for Contempt [ECF 205];

               (v)      Emergency Motion to Stay Motion for Contempt [ECF 206];

               (vi)     Motion to Modify April 3, 2013 Order [ECF 236];

               (vii)    Emergency Motion Seeking Leave for Wolfgang Neuberger to
                        Appear Via Video-Link at the April 10, 2013 hearing [ECF
                        241] and

               (viii)   Amended Motion for Relief from Contempt Order [ECF 268]

       For the reasons stated in the supporting memorandum, the Court should recuse or

disqualify Judge Ponsor and assign this case to another judge.

Dated: May 15, 2013
                                     THE GRIFFITH FIRM

                                                   /s/ Edward Griffith
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                                     Holdings, Ltd. and Wolfgang Neuberger
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                                     CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on this 15th day of
May, 2012.


                                                            /s/ Edward Griffith
                                                      _______________________________
                                                            Edward Griffith




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